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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


STARK LIGON, in his official capacity as
Executive Director of the Arkansas Committee
on Professional Conduct                                                 PLAINTIFF

v.                        Case No. 4-18CV-325-KGB

TERESA BLOODMAN                                                       DEFENDANT

                            MOTION TO REMAND

      COMES NOW, Plaintiff Stark Ligon, in his capacity of Executive Director of

the Arkansas Committee on Professional Conduct, by and through its attorneys,

Attorney General Leslie Rutledge and Assistant Attorney General William C. Bird

III, and for his Brief in Support of Motion to Remand, states the following:

      1.      On September 29, 2017, Plaintiff filed the underlying Fourth Amended

Petition for Disbarment (Supreme Court of Arkansas, D-16-301) against Teresa

Lynette Bloodman (#2005055) (“Bloodman”) alleging a total of 176 separate

violations of the Arkansas Rules of Professional Conduct.

      2.      The disbarment trial initially began on April 30, 2018, and resumed on

May 14, 2018.

      3.      On the morning of Tuesday, May 15, 2018, Bloodman filed her Notice

of Removal which automatically stayed the disbarment proceeding pending further

action of this Court.

      4.      Bloodman has no right to remove the state disbarment actions to this

lawsuit for the following reasons: (1) the matters sought to be removed are not civil
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actions within the meaning of the federal removal statutes and federal removal

jurisprudence; (2) no federal question appears on the face of the state court

complaint; and (3) the petition for removal is time barred.

      5.      Under almost identical factual circumstances, this Court previously

held that a state disbarment action was not removable. McCullough v. Ligon, 430

F. Supp. 2d 846, 850–51 (E.D. Ark. 2006), aff'd, 271 F. App'x 547 (8th Cir. 2008).

      6.      Accordingly, Plaintiff requests that the disbarment action be

immediately remanded to the Arkansas Supreme Court for further proceedings and

so that the disbarment trial, which currently is ongoing, may continue.

      7.      A Brief in Support is filed contemporaneously herewith.

      WHEREFORE, Plaintiff respectfully requests that this Court immediately

remand the pending state bar action to the Arkansas Supreme Court and for any

and all further relief to which they may show themselves entitled.

                                       Respectfully submitted,

                                       LESLIE RUTLEDGE
                                       Attorney General

                                 By:   /s/ William C. Bird III
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                                       Attorneys for Plaintiff




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                           CERTIFICATE OF SERVICE

      I, William C. Bird III, Assistant Attorney General, hereby certify that on May
16, 2018, I electronically filed the foregoing with the Clerk of Court using the CM/ECF
system, which shall send notification of such filing to any CM/ECF participants.

                                         /s/ William C. Bird III




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